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A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                             CASE NUMBER: 8:06-cr-82-T-30EAJ
                                                             USM NUMBER: 48585-018



TIMOTEO CUEROVILLA
                                                             Defendant's Attorney: Scott Robbii, cja.

THE DEFENDANT:

 X pleaded guilty to count(s) TWO of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                    NATUREOFOFFENSE                             OFFENSE ENDED                     COUNT
46 App. U.S.C. §$1903(a), and      Possession With Intent to Distribute Five March 6, 2006                        Two
18 U.S.C. 82; and 21 U.S.C.        Kilograms or More of Cocaine whiie on
e96o@)U)(B)C~)                     Board a Vessel Subject to the Jurisdiction
                                   of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count@)
X Count@)ONE of the Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailiig address until all fmes, restitution, costs, and special assessments imposed by thls judgment are fully
paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
cmumstances.


                                                                               Date of Imposition of Sentence: July 28, 2006




                                                                               DATE: July   &6,
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:         TIMOTEO CUEROVILLA                                                                       Judgment - Page 2of 6
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                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified iu Title 18 U.S.C. 58
3553(a)(l)-(7), the court fhds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the Unitecl States Bureau of Prisons to be
imprisoned for a total term of FIFTY-SEVEN (57) MONTHS as to Count Two of the Indictment.



 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Ft. Dix
(NJ), if possible.


- The defendant is remanded to the custody of the United Slates Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -,
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

- at                                                                              , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:           TIMOTEO CUEROVILLA                                                                           Judgment - Page 3 of 6
Case No.:            846-cr-82-T-30EAJ
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defemlant shall be on supervised release for a term of FIVE (5) YEARS
as to Count Two of the Indictment.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

            If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accosclance with
            the Schedule of Payments sheet of this judgment.

            The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on thc attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission of the court or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by thc probation officer and follow the instructions of the probation officer:

             the defendant shall support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons:

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the defendant shall not frequent places where controlled substances arc illegally sold, used? distributed, or administered;

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony. unless granted permission to do so by the probation officer;

             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

             thc defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

            the defendant shall not cnter into any agreement to act as an infornicr or a special agent of a law enforcement agency without [he
            permission of the court; and

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
            compliance with such notification rcquiretncnt,
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A 0 245B (Rev. 06!05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant :       TIMOTEO CUEROVILLA
Case No. :        8:06-cr-82-T-30EAJ
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X
-        If the defendant is deported, he/she shall not be allowed to re-enter the Uni~edStates without the express permission of the
         appropriate govern~nentalauthority.
X
-        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:         TIMOTEO CUEROVILLA                                                                 Judgment - Page 5 of 6
Case No.:          8:06-cr-82-T-30EA.l

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                           -
                                                                 Fine                          Total Restitution

         Totals:            $100.00                              Waived                        N/A


-        The determination of restitution is deferred until         .     An Ameiztletl Jzrtlgnzent in a Criminal Case ( A 0 245C) will
         be entered after such deter~nination.

-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the dnited States.


 Name of Payee                                Total Loss*                 Restitution Ordered                 Priority or Percentage




                            Totals:           $                           $


 -        Restitution amount ordered pursuant to plea agreement $
 -       The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S .C. $ 36 12(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine            restitution.
        -          the interest requirement tor the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1 lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, I h 6 .
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PI0 2453 (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        TIMOTEO CUEROVILLA                                                                Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        X        Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                    , Or

                             - in accordance - C , - D, - E or - F below; or
B.       -         Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.       -         Payment in equal                 (e.g ., weekly, monthly, quarterly) installments of $                over a
                   period of          (e.g., months or years), to commence               days (e .g . , 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $               over a
                   period of
                                , (e.g . , months or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                          (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
          the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
          Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee. if appropriate:


-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and
                                                                                                               F
property, or portions thereof. subject to forfeiture, which are in the possession or control o the defendant or the
defendant's nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) tine principal,
(5) fine interest, ( 6 ) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
